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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION


UNITED STATES OF AMERICA,                    )
                                             )
                      Plaintiff,             )
                                             )
               v.                            )       No.    4:16 CR 528-1 AGF
                                             )
TODD BECKMAN,                                )
                                             )
                      Defendant.             )

                          STATEMENT OF THE GOVERNMENT
                          REGARDING PRESENTENCE REPORT

       COMES NOW the United States of America, by and through its attorneys, Jeffrey B.

Jensen, United States Attorney for the Eastern District of Missouri, and John T Davis, Assistant

United States Attorney for said District, and states that the Government has no objections to the

Presentence Report.

                                             Respectfully submitted,

                                             JEFFREY B. JENSEN
                                             United States Attorney


                                              s/ John T Davis
                                             JOHN T DAVIS, #40915MO
                                             Assistant United States Attorney
                                             111 South 10th Street, Room 20.333
                                             St. Louis, MO 63102
                                             (314) 539-2200
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                               CERTIFICATE OF SERVICE

       I hereby certify that on January 24, 2018, the foregoing was filed electronically with the
Clerk of the Court to be served by operation of the Court's electronic filing system upon the
following:

              Travis L. Noble, Jr.
              Attorney at Law

              Jennifer L. Jelinski
              United States Probation Officer



                                             s/ John T Davis
                                            Assistant United States Attorney




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